






						

	





NUMBER 13-07-00460-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

SOUTH TEXAS FREIGHTLINER, INC.,			   		 Appellant,


v.


FRANCISCO MUNIZ AND 

MARGARITA MUNIZ,					        	 	  	Appellees.

                                                                                                                                      


On appeal from the 138th District Court

of Cameron County, Texas.

                                                                                                                      


O P I N I O N


Before Chief Justice Valdez and Justices Yañez and Benavides


 Opinion by Chief Justice Valdez
		


	Appellant, South Texas Freightliner, Inc. (hereinafter "STF"), appeals a $117,000
civil judgment for malicious prosecution rendered in favor of appellees, Francisco and
Margarita Muniz (collectively "the Munizes"). (1)  By three issues, STF contends that the (1)
evidence is legally and factually insufficient to support three elements of a malicious
prosecution claim; (2) evidence is legally and factually insufficient to support the damages;
and (3) trial court erred in calculating prejudgment interest.  We affirm.I. Background

	On April 13, 2000, Francisco was indicted for a state-jail felony theft charge.  See
Tex. Penal Code Ann. § 31.03(e)(4) (Vernon Supp. 2008) (providing that it is a state-jail
felony to steal property valued at $ 1,500 or more but less than $20,000).  The indictment
alleged that Francisco failed to disclose a second lien, which was held by Valley Trucking,
on a 1993 Freightliner that Francisco traded-in to STF in connection with the purchase of
a new truck. This indictment was dismissed, but Francisco was subsequently re-indicted
on August 23, 2003.  After a week-long jury trial, Francisco was acquitted on November
12, 2004.  

	On August 6, 2002, the Munizes sued STF for malicious prosecution, but that suit
was non-suited.  On December 15, 2004, the couple re-filed a malicious prosecution suit
against STF.  The case was tried to a jury in January 2007.  The testimony and evidence
came from the following individuals: (1) Valley Trucking employees, who testified about a
promissory note executed by the Munizes; (2) STF employees, who recounted the sales
process; (3) a police officer, who explained his investigation; and (4) the Munizes, who
relayed their understanding of the promissory note, sale, and criminal prosecution.

A.	Valley Trucking Employees

	Sofia Garza, the office manager of Valley Trucking, testified that she typed a
promissory note that was executed by Richard Carruthers, vice president of Valley
Trucking, and the Munizes.  The note, dated June 9, 1998, references Francisco and
Margarita as the lenders and Valley Trucking as the borrower, (2)  and states in relevant part:

TERMS FOLLOWING A  APPLY ONLY IF CHECKED


NOTE - For value received, I promise to pay you, or your order, at your
address above, the principal sum of: Eleven thousand six hundred nineteen
Dollars $11,619.00 plus interest from _____________ at the rate of ___ %
per year until ____________.	


PAYMENTS - I will pay this note as follows:

(a)  In 12 payments.  The first payment will be in the amount of $ 1,040.51
and will be due July 9, 1998.  A payment of $ 1040.51 will be due on the 9th
day of each month thereafter.


	. . . . 


SECURITY - You have certain rights that may affect my property as
explained on page 2.  This loan  is  is not further secured.

(a)   This loan is secured by __________________________, dated ____.


(b)  Security Agreement - I give you a security interest in the Property
described below.  The rights I am giving you in this Property and the
obligations this agreement secures are defined on page 2 of this agreement. 


Keep insurance on 1993 Freightliner tractor vin# 1FUYDSYBXPP485198
with Valley Trucking as loss payee.


Garza testified that she did not check either the (a) or (b) box under the "SECURITY"
section and that she "put down up at the top of that [section of the note that it] was secured
but [she] didn't write down what it was securing."  Garza testified that STF eventually paid
the outstanding balance on the 1998 note and the "lien was released."  

	On redirect examination by the Munizes' attorney, Garza was asked whether the
1998 note created a second lien.  Garza responded that it did not.  Then she was asked,
"So, if [Francisco] goes out and tells people there is no second lien, he is not
misrepresenting anything, is he?"  Garza responded, "No, sir." 

	Richard Carruthers testified that the 1998 note "wiped-out" the 1997 note.  On cross-examination by STF's counsel, Carruthers testified that he discussed the 1993
Freightliner's financing agreement with the Munizes, and Francisco was aware he had to
pay off the note before he could trade in the Freightliner.  Carruthers testified, "I told him
to make sure that he was getting a trade-in where he can get his equity out, where he
wouldn't be upside on the deal . . . ."

B.	STF Employees

	Angel Beltran, a former STF salesman, testified that he would help customers
complete credit applications, but he could not remember if he specifically and consistently
asked customers if a truck proposed as a trade-in was secured by a second lien.  During
Beltran's testimony, the trial court admitted a Mercedes-Benz Credit Corporation
application that Francisco signed; its only reference to liens was to whether the applicant
had any "tax liens."  The application contained sections titled "Bank/Mortgage Company
References" and "Equipment Financing and Leasing References." 

	Stacy Gillard, a former STF finance manager, testified that she reviewed the original
Texas title to the traded-in 1993 Freightliner and discovered that Valley Trucking claimed
a second lien on the truck.  In March 1999, Gillard was directed by her supervisor to go to
the Pharr Police Department and provide a statement regarding the 1993 trade-in vehicle. 
On March 30, 1999, STF paid the balance on the 1998 note.  On cross-examination by
STF's counsel, Gillard testified that Francisco had to know about the second lien because
he signed a title application acknowledging the second lien by Valley Trucking in order for
that second lien to appear on the title.  

	Eddie Vaughan, STF's president, testified that he sent a letter to the Pharr Police
Department alleging that Francisco's credit application did not accurately disclose a second
lien.  The letter, dated September 1, 1999, states:

I, Eddie Vaughan, owner and president of South Texas Freightliner, wish to
press criminal charges against Mr. Francisco Ruiz [sic].


On December 10, 1998, Mr. Ruiz [sic] approached South Texas Freightliner
about purchasing a new 1999 Freightliner Classic XL.  He completed a credit
application and a retail buyers order on which he stated the lien against his
trade-in vehicle was with First Valley Bank for the approximate amount of
$28,000.  This payoff amount was confirmed with First Valley Bank, and Mr.
Muniz signed a contract for and took delivery of his new Freightliner.  Several
days later, the title for the trade-in was received from First Valley Bank, and
it was discovered that Mr. Muniz had a second and previously undisclosed
lien on the vehicle.  Mr. Muniz was contacted, and he denied knowledge of
the second lien.  The second lienholder, Valley Trucking, was contacted, and
they provided us with documentation of the loan to Mr. Muniz and the lien. 
In order for South Texas Freightliner to perfect its lien on the 1993 trade-in,
it was necessary to pay this note off also.  The note was for $11,655.81.


Vaughan testified that he learned of a possible lien on the 1993 Freightliner when STF
received the title from First Valley Bank. STF then reported the incident to the police
department and paid Valley Trucking the promissory note's balance.  Vaughan further
testified that he went to the authorities in an attempt to collect what, in his belief, was an
$11,655.81 debt that Francisco owed to STF.

	Vaughan also testified that in March 1999, STF received a notice that the Munizes
had filed for bankruptcy.  Vaughan noted that STF did not file a claim against the Munizes'
bankruptcy estate because he did not believe STF would get any money from the Munizes
through a bankruptcy proceeding.

C.	Sergeant Guerrero

	Gilberto Guerrero, a sergeant with the Pharr Police Department, testified that Gillard
filed a police report against Francisco.  Sergeant Guerrero then investigated the case,
spoke with the district attorney's office regarding potential charges and their viability, and
obtained a warrant for Francisco's arrest.  Sergeant Guerrero viewed the case as purely
criminal in nature and testified that the police department did not engage in debt collection
for private parties.

D.	Margarita Muniz

	Margarita testified that Francisco had been a truck driver since 1995.  On the
morning of December 7, 1998, the couple visited STF to purchase a truck for Francisco's
business.  After the couple found a suitable truck, Margarita spoke with Jaime Valdez, a
STF employee.  Margarita testified that Valdez asked her questions that were on a credit
application and that she answered every question.  When the application was complete,
Francisco signed it, and, STF submitted it to the finance company for review.  Margarita
did not recall being asked if the trade-in was secured by a second lien.  However, she
claimed to have provided Valdez with a non-negotiable title that did not show a second lien. 
The finance company approved the application, and the Munizes left with a brand-new
1999 Freightliner.

	A month after the purchase, Valdez telephoned Margarita to inform her that Valley
Trucking held a second lien on the trade-in.  According to Margarita, she and Francisco
had a personal loan with Valley Trucking, "but it had nothing to do with the truck." 
Margarita testified that Valdez was rude and used bad language when he told her to tell
her husband "that if he didn't pay in three days, $12,000, he was going to get screwed and
he was going to go to jail."  Margarita offered to return the new Freightliner in exchange for
the trade-in, but Valdez told her that the trade-in had already been sold.  When Francisco
returned home from a long-haul trip, Margarita told him about the conversation with Valdez. 
She then sought advice from a bankruptcy lawyer, and the couple filed for bankruptcy in
March 1999.

	During the summer and fall of 1999, Sergeant Guerrero telephoned the Muniz home
regarding a criminal investigation.  He spoke to Margarita and, once when Margarita was
away from the house, to Francisco Jr., the couple's eighteen-year-old son.  When
Margarita returned home, Francisco Jr. told her that Sergeant Guerrero had called and told
him that the police would arrest Francisco if he did not pay STF.  Margarita testified that
Francisco Jr. and her two minor children cried in reaction to the news.  Margarita felt like
she "had no way out," that her husband would be deported to Mexico if he was found guilty
of a criminal charge, (3) and that her family would be left homeless because she could not
support them.

	Margarita further testified that Francisco was indicted for theft in April 2000, that
those charges were subsequently dismissed in October 2001, but he was re-indicted again
for theft in August 2003.  After Francisco was re-indicted, he was arrested, and spent a
weekend in jail.  Margarita told the jury how the family was hurt financially by the numerous
hearings and the trial because Francisco was a truck driver and every hearing cost him a
week's worth of work.  Margarita testified:

Nobody knows what we have been going through.  It's hell living like this.  My
husband couldn't work.  How were we going to feed our kids?  They would
fire him because he had to go to court, and go to court, and court, and court.


	The Munizes had to hire an attorney to represent Francisco in the criminal
proceeding.  Margarita recalled that the family mortgaged the home that they had owned
outright and paid $15,000 in attorney's fees.  Margarita recounted that the financial
hardship prevented her and Francisco from helping their eldest son attend college and
from celebrating their daughter's fifteenth birthday with a "quinceanera," or party.

	Margarita further testified that she believed the loan from Valley Trucking was an
unsecured note, in part, because the copy of the title to the 1993 Freightliner that she
possessed showed First Valley Bank as the only lien holder.  Margarita did not realize that
the 1993 Freightliner was possibly secured by a second lien until STF paid-off First Valley
Bank's interest in the truck and the bank released the original title.  When asked about the
original title by STF's counsel, Margarita admitted that it denoted a second lien. 

E.	Francisco Muniz

	Francisco testified that he had never been charged with a criminal offense or spent
time in jail until his arrest for theft.  Francisco learned about the problems with the title from
Margarita.  He spoke to Sergeant Guerrero, who told him that "[n]ot even the bankruptcy
is going to save you."  Francisco testified that he saw his wife and children cry during the
ordeal.

	Francisco testified that the family suffered financially during the criminal
proceedings.  Francisco lost his own truck and became a company driver, but his
supervisor did not provide Francisco with consistent work because he was frequently
absent due to court hearings.  Francisco's supervisor, therefore, asked Francisco to work
as a substitute driver and drive a tractor-trailer only when he was available and another
driver was out.  Francisco testified that the family had trouble putting food on the table and
that he had to borrow from friends, which was embarrassing to him because he did not like
borrowing money.

	Francisco testified that he was arrested twice on theft charges.  During his first
arrest, Francisco surrendered himself to authorities, was quickly processed, and was
released from police custody.  The second arrest, however, happened when Francisco was
driving a company truck from Houston to the Valley.  Francisco was stopped in Kingsville
by the police because the tags on his truck seemed out-of-order.  During the traffic stop,
officers informed Francisco that there was a warrant for his arrest, and they arrested him. 
The experience was very embarrassing because Francisco was arrested in front of several
friends and colleagues.  Francisco was further embarrassed when he had to spend a
weekend in jail, where he was strip-searched and forced to shower and interact with other
inmates.  On cross-examination by STF's counsel, Francisco was asked whether he was
arrested in Kingsville because he failed to make a court appearance rather than as a direct
result of the theft charges.  Francisco responded that he made every court appearance,
that the arrest was a court mistake, and that the underlying criminal proceeding was a
result of STF's actions. 	

	Regarding economic damages, Francisco testified that he could not work for
practically six years because the criminal proceedings disrupted his work schedule.  He
testified his gross wages ranged from $250 to $300 a week.

F.	Francisco Muniz Jr.

	Francisco Jr. testified that he received a telephone call from Officer Guerrero, that
his siblings overheard the conversation, and that they all started to cry because they were
afraid that Francisco had already been arrested.  Francisco Jr. further testified that his
father was vibrant and "the life of the party" before the criminal proceedings.  Now,
Francisco just wants to hide from the world.  Francisco Jr. believed that his father's attitude
changed when he was incarcerated in Kingsville.  

G.	Jury Charge, Judgment, and Motion for New Trial

	Question One of the jury charge asked whether, by a preponderance of the
evidence, STF maliciously prosecuted Francisco.  Regarding Francisco's damages,
Question Two instructed the jury to apportion damages for the following: (1) physical pain
and mental anguish; (2) loss of earnings and loss of wage-earning capacity; and (3)
attorney's fees. (4)  Question Three related to Margarita's damages.  In Question Four, the
jury was asked if Eddie Vaughan acted as an employee of STF.  Question Five inquired
into whether there was clear and convincing evidence that STF acted with malice.

	The jury answered "yes" to the malicious prosecution question, and awarded
Francisco $25,000 for past physical pain and mental anguish, $80,000 for past loss-of-
earnings, and $15,000 in attorney's fees.  The jury declined to award Margarita any
damages, and found that STF did not act with malice by clear and convincing evidence,
thereby precluding an award of exemplary damages.  It did, however, find that Eddie
Vaughan acted as an employee of STF.  STF moved for a new trial or a modified
judgment.  The trial court denied the motion for new trial, but it modified the judgment by
reducing the attorney's fees award to $12,000.  In all other respects, the trial court signed
a judgment according to the jury's verdict and awarded Francisco $40,820.12 in
prejudgment interest, which was measured from March 5, 2003.  This appeal followed.

II. Legal and Factual Sufficiency

	By its first and second issues, STF contends the evidence is legally and factually
insufficient to support Francisco's claim for malicious prosecution and damages.

A.	Standards of Review

	When we review a record for legal sufficiency, we view the evidence in the light most
favorable to the verdict to determine whether the evidence at trial would allow reasonable
and fair-minded people to reach the verdict under review.  City of Keller v. Wilson, 168
S.W.3d 802, 827 (Tex. 2005).  We "must credit favorable evidence if reasonable jurors
could, and disregard contrary evidence unless reasonable jurors could not."  Id.  We will
sustain a challenge to the legal sufficiency of evidence only if:  (1) there is a complete
absence of evidence of a vital fact; (2) the court is barred by rules of law or of evidence
from giving weight to the only evidence offered to prove a vital fact; (3) the evidence
offered to prove a vital fact is no more than a mere scintilla; or (4) the evidence establishes
conclusively the opposite of a vital fact.  Id. at 810.  More than a scintilla of evidence exists,
and the evidence is legally sufficient, if the evidence furnishes some reasonable basis for
differing conclusions by reasonable minds about a vital fact's existence.  Lee Lewis Constr.
Co. v. Harrison, 70 S.W.3d 778, 782-83 (Tex. 2001).  However, "when the evidence offered
to prove a vital fact is so weak as to do no more than create a mere surmise or suspicion
of its existence, the evidence is no more than a scintilla and, in legal effect, is no
evidence."  Ford Motor Co. v. Ridgway, 135 S.W.3d 598, 601 (Tex. 2004) (citing Kindred
v. Con/Chem, Inc., 650 S.W.2d 61, 63 (Tex. 1983)).  

	In conducting a factual sufficiency review, we do not substitute our judgment for that
of the jury; rather, we view all the evidence in a neutral light to determine whether the
evidence is so weak or the finding is so contrary to the great weight and preponderance
of the evidence as to be manifestly unjust, shock the conscience, or clearly demonstrate
bias.  See City of Keller, 168 S.W.3d at 826; Golden Eagle Archery, Inc. v. Jackson, 116
S.W.3d 757, 761 (Tex. 2003); Pool v. Ford Motor Co., 715 S.W.2d 629, 635 (Tex. 1986);
Villagomez v. Rockwood Specialties, Inc., 210 S.W.3d 720, 749 (Tex. App.-Corpus Christi
2006, pet. denied).

B.	Malicious Prosecution

	In order to prevail on a malicious prosecution claim, Francisco had to prove by a
preponderance of the evidence that:  (1) a criminal prosecution was commenced against
him; (2) STF initiated or procured that prosecution; (3) the prosecution terminated in his
favor; (4) he was innocent of the charges; (5) STF lacked probable cause to initiate the
prosecution; (6) STF acted with malice; and (7) he suffered damages.  Richey v.
Brookshire Grocery Co., 952 S.W.2d 515, 517 (Tex. 1997).  STF's first issue challenges
the sufficiency of the evidence supporting the second (causation), fifth (lack of probable
cause), and sixth (malice) elements of Francisco's claim.  We now turn to a discussion of
those elements.

1.	Causation

	 The second element of a malicious prosecution claim requires a claimant to present
evidence that the decision to prosecute "would not have been made but for the false
information supplied by the defendant."  King v. Graham, 126 S.W.2d 75, 78 (Tex. 2003). 
STF contends that the letter Vaughan provided to the police truthfully disclosed all of the
material information known to Vaughan when he penned it.  Francisco argues that he did
not complete the application, but STF employees did, and that Vaughan knew or should
have known that the lien Valley Truck had on the 1993 Freightliner was not valid because
it rested on a defective promissory note.

	The record contains evidence that undermines:  (1) STF's assertion that it fully and
fairly disclosed the Munizes' alleged deception in the credit application; and (2) the
existence and validity of a second lien.  In his letter, Vaughan noted that Francisco's 1993
trade-in truck was encumbered by a "second and previously undisclosed lien."  This
statement implies that the Munizes were asked about a second lien and failed to disclose
it.  Margarita testified that she completed the application with the assistance of an STF
employee and was never asked about a second lien.  Additionally, the credit application
does not request thorough and precise responses.  Its request for financial information
reads in relevant part:

Bank/Mortgage Company References:

Bank Name		Contact	Phone	City	State	Complete Acct. No.

First Valley Los Fresnos	956 233-441	Lost Fresnos	Tx

		Gilbert Sanford


Equipment Financing and Leasing References*:

Bank/Finance Co.	Contact	Phone	City	State	Account Number


(blank lines omitted).  Because the application used the term "references," did not ask for
a description of financed equipment, and did not ask for any and all outstanding balances
on financed equipment, the jury could have inferred that the Munizes disclosed as much
information as the application required. 

	There is also evidence that calls into question the existence and validity of the
second lien.  Gillard and Vaughan testified that First Valley Bank forwarded STF a title that
noted a second lien in favor of Valley Trucking, but the company never introduced a copy
of the title showing two liens.  Margarita testified that Valley Trucking provided her and
Francisco with an unsecured loan.  A review of the promissory note, which STF had for
several months before Vaughan's letter, reveals numerous defects.  For example, the
lender's and borrower's names are juxtaposed and the box that would create a security
interest is unchecked.  Margarita also testified that the title she provided to STF the day
they purchased the new truck noted only the bank lien, but neither she nor Francisco
introduced a copy of that title.  Thus, the only evidence supporting the existence and
validity of the second lien is the parties' testimony and the botched promissory note.   

	Based upon the record, the jury could have reasonably inferred that: (1) Francisco
truthfully completed a vague credit application; (2) Francisco did not know of a second lien
on the trade-in truck; (3) Francisco, when confronted with the allegation of a second lien,
had no reason to believe that the second lien was valid; and (4) Vaughan misrepresented
the facts when he told the police that Francisco did not disclose a valid second lien that
had to be paid before STF could perfect its title to the trade-in truck.  Moreover, Vaughan's
misrepresentation prompted the State's decision to prosecute because Sergeant Guerrero
would not have investigated the case without it.  See First Valley Bank v. Martin, 144
S.W.3d 466, 470 (Tex. 2004) (providing that in order for false information to satisfy the
causation element of a malicious prosecution claim, it must be material to the decision to
prosecution).  We hold, therefore, that there is legally and factually sufficient evidence to
support the causation element.

 2.	Probable Cause

	In malicious prosecution claims, there is a presumption that the defendant acted in
good faith in reporting an apparent subversion of the law.  See Kroger Tex. Ltd. P'ship v.
Suberu, 216 S.W.3d 788, 794 (Tex. 2006).  A claimant must rebut this presumption by
producing evidence that the defendant initiated a prosecution on the basis of information
or motives that do not support a reasonable belief that the claimant was guilty of the
charged crime.  See id. at 794-95 (citing Richey v. Brookshire Grocery Co., 952 S.W.2d
515, 518 (Tex. 1997)).  Evidence of motives that undermine the presumption of reasonable
belief include prior bad relations, preexisting debt, racial animus, or any private motivation
to harm.  Id. at 795.

	Francisco posits that he rebutted the reasonableness presumption by presenting
evidence that STF used the criminal justice system as a debt-collection tool.  A time line
of events shows that STF realized there was a possible problem with the title in January
1999.  Thereafter, the Munizes alleged that they received vulgar and threatening phone
calls from STF employees and Sergeant Guerrero.  In March 1999, the Munizes filed for
bankruptcy and STF was provided notice of the bankruptcy proceedings and an opportunity
to file a claim, but it did not.  In September 1999, Vaughan sent the letter, which led to
criminal charges.

	STF argues that Sergeant Guerrero's testimony that the police department does not
collect debts and that Vaughan never asked him to collect a debt is conclusive evidence
that STF acted only out of a reasonable belief that a crime had been committed.  We
disagree.  Sergeant Guerrero's testimony regarding the allegedly criminal nature of
Vaughan's communications and his investigation was evidence for the jury to weigh against
the Munizes' testimony about how STF employees and Sergeant Guerrero treated them. 
A rational jury could have believed that STF vehemently wanted the money that it paid to
Valley Trucking and that it employed the strong arm of the law when Francisco did not pay. 
Thus, the record contains legally and factually sufficient evidence to support the probable
cause element.

3.	Malice

	STF contends, without referencing any authority, that the evidence is insufficient to
support the malice element of Francisco's malicious prosecution claim because in
Question Five the jury did not find malice under a clear and convincing standard of proof. 
We disagree.  A reasonable jury could have found malice under the lower, "preponderance
of the evidence" standard and not found malice under the higher, clear and convincing
evidence standard. (5)  There is, therefore, legally and factually sufficient evidence supporting
the malice element.

	STF's first issue is overruled.

D.	Damages

	By its second issue, STF contends there was legally and factually insufficient
evidence to support the jury's finding of economic damages and mental pain rising to a
legally compensable level.  Francisco argues that the severe mental anguish he suffered
is supported in the record and that STF inadequately briefed its challenge to the economic
damages because it did not cite any legal authority.  See Tex. R. App. P. 38.1(i).  While we
agree that the briefing on the award of economic damages is lamentable, we nevertheless
address the merits.

	To recover mental anguish damages, a plaintiff must produce:  (1) direct evidence
of the nature, duration, or severity of a plaintiff's anguish, thus establishing a substantial
disruption in the plaintiff's daily routine; or (2) other evidence of a high degree of mental
pain and distress that is more than mere worry, anxiety, vexation, embarrassment, or
anger.  Parkway Co. v. Woodruff, 901 S.W.2d 434, 444 (Tex. 1995).  "Not only must there
be evidence of the existence of compensable mental anguish, there must also be some
evidence to justify the amount awarded."  Saenz v. Fid. &amp; Guar. Ins. Underwriters, 925
S.W.2d 607, 614 (Tex. 1996). The jury "cannot simply pick a number and put it in the
blank."  Id.  "There must be evidence that the amount found is fair and reasonable
compensation." Id.

	STF contends that the following exchange between Francisco and his attorney is
the only evidence of mental anguish:

Q:	How did you feel going through the [criminal] trial, sir?


A:	During the trial, I was very tense.  My stomach wanted to kind of
betray me, but I contained myself.  Right now I ask for an apology.


Q:	How was life at home while the trial was going on?


A:	Well, sad.  Sometimes--sad, sometimes, with anger.  I don't desire
this for anybody when you know that you're innocent.


Francisco, however, gave more detailed testimony than that cited by STF.  Francisco
testified that he was embarrassed when Kingsville police officers arrested him in front of
his friends and colleagues.  Francisco was further embarrassed when he spent the
weekend in jail, where he was strip-searched and forced to shower with other inmates. 
Thus, Francisco provided direct evidence of the "nature, duration, or severity" of his mental
anguish.  See Parkway Co., 901 S.W.2d at 444. 

	Jurors are the sole judges of the credibility of the witnesses and the weight to give
their testimony.  City of Keller, 168 S.W.3d at 807.  The record in this case contains
competent evidence indicating that Francisco's mental anguish was "more than mere
disappointment, anger, resentment or embarrassment."  See Parkway Co., 901 S.W.2d
at 444.  Giving credit to evidence supporting the judgment, and viewing the evidence in a
neutral light, we find legally and factually sufficient evidence to support the jury's finding
of compensable mental anguish damages.  See City of Keller, 168 S.W.3d at 827;
Villagomez, 210 S.W.3d at 748; Golden Eagle Archery, Inc., 116 S.W.3d at 761. 

	STF's final sufficiency argument is that "the only testimony about losses in wages
is" when Francisco testified that he earned between $250 to $300 a week.  But, Francisco
also testified that he could not work for practically six years because the criminal
proceedings disrupted his work schedule.  Additionally, Margarita testified that every court
appearance cost Francisco a week's worth of work.  By our math, $250 to $300 multiplied
by fifty-two weeks, and then further multiplied by six years, equals $78,000 to $93,600. 
The jury's answer of $80,000 fell on the lower end of Francisco's testimony and was
supported by ample evidence when viewed in either a favorable or neutral light.

	STF's second issue is overruled.

III. Prejudgment Interest

	By its third issue, STF contends the trial court erroneously concluded that
prejudgment interest began on March 5, 2003.  STF argues that Francisco's cause of
action did not accrue until November 12, 2004, the date a jury acquitted him of theft
charges.  Francisco contends that STF first learned of his claim on August 6, 2002, when
the suit that he subsequently nonsuited was originally filed.  

	We apply an abuse of discretion standard to review the trial court's award of
prejudgment interest and give limited deference to the lower court's application of the law
to the facts.  See Morales v. Morales, 98 S.W.3d 343, 348 (Tex. App.-Corpus Christi 2003,
pet. denied).  Prejudgment interest begins to accrue on the earlier of:  (1) 180 days after
the date the defendant receives written notice of a claim; or (2) the date suit is filed. Tex.
Fin. Code Ann. § 304.104 (Vernon 2006); Johnson &amp; Higgins of Tex., Inc. v. Kenneco
Energy, Inc., 962 S.W.2d 507, 529 (Tex. 1998).  

	Citing Leal v. American National Insurance Company as authority on the issue, STF
argues that Francisco's claim did not accrue until he was acquitted.  928 S.W.2d 592, 596-97 (Tex. App.-Corpus Christi 1996, writ denied).  Leal dealt with the statute of limitations
for bringing a malicious prosecution suit, and it held that when two indictments are returned
on the same set of facts, the quashing or disposition of one without disposing of the other
indictment does not constitute a termination of the prosecution in favor of the accused
within the meaning of the rule relating to malicious prosecution.  See id. at 597. 

	STF's reliance on Leal is misplaced because in that case, the grand jury issued
multiple indictments on the same day based upon the same facts.  Id. at 595.  The
Leal&nbsp;court rationalized that the statute of limitations did not begin to run until the remaining
indictment had terminated.  Id.  In this case, two serial indictments were issued years apart,
and the first indictment terminated in Francisco's favor in October, 2001.  See King v.
Graham, 47 S.W.3d 595, 603-05 (Tex. App.-San Antonio 2001, pet. granted) (concluding
that a prosecutor's dismissal of an indictment was a termination in the malicious
prosecution claimants' favor), rev'd on other grounds by, 126 S.W.3d 75 (Tex. 2003). 
Francisco filed suit in August 2002, but that suit was non-suited.  Thus, the record supports
the trial court's decision to begin prejudgment interest from March 5, 2003, because that
date is 180 days after Francisco's claim initially accrued.  The fact that the State re-indicted
Francisco and proceeded to trial could have been seen by the trial court as an extension
and exacerbation of the malicious prosecution claim but not a predicate to accruing the
claim.

	STF's third issue is overruled.

IV. Conclusion

	The trial court's judgment is affirmed.


							                                         								ROGELIO VALDEZ

							Chief Justice

	


Opinion delivered and filed on

this the 12th day of March, 2009. 

1.  Margarita was awarded nothing in the final judgment.  Her name, however, appears in the notice
of appeal and is therefore docketed in the style of this case.
2.  A note for $9,000, which is dated November 26, 1997, was also admitted into evidence.  Garza
testified that the Munizes "renewed" the 1997 note and rolled the outstanding balance into the 1998 note. 
Additionally, subsequent testimony reveals that the note erroneously refers to the Munizes as lenders when
they were in fact borrowers.  
3.  Later in the trial, Francisco testified that he is a resident alien.
4.  The physical pain and loss of earning capacity damages were further divided into past and future
damages.
5.  STF also argues that the jury's answers are inconsistent because it provided different answers under
different standards of proof.  However, that issue is waived because STF did not timely object.  See Tex. R.
App. P. 33.1; Greater Houston Transp. Co. v. Zrubeck, 850 S.W.2d 579, 586 (Tex. App.-Corpus Christi 1993,
writ denied) (providing that "if the jury returns a verdict containing inconsistent answers, a party must make
a proper objection or otherwise bring to the court's attention this fact before the verdict is accepted and
received and the jury is discharged.").

